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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


VEHICLE IP, LLC,                                     )
                                                     )
                      Plaintiff,                     )
                                                     )     C.A. No. 09-1007-LPS
       v.                                            )
                                                     )
AT&T MOBILITY LLC,                                   )
CELLCO PARTNERSHIP,                                  )
NETWORKS IN MOTION, INC.,                            )
TELECOMMUNICATION SYSTEMS, INC., and                 )
TELENAV, INC.,                                       )
                                                     )
                      Defendants.                    )



                                    NOTICE OF SERVICE

       The undersigned hereby certifies that on the 25th day of June, 2015, (1) DEFENDANTS

TELECOMMUNICATION SYSTEMS, INC.’S AND NETWORKS IN MOTION, INC.’S

SECOND SUPPLEMENTAL INITIAL DISCLOSURES, (2) DEFENDANTS

TELECOMMUNICATION SYSTEMS, INC.’S AND NETWORKS IN MOTION, INC.’S

SUPPLEMENTAL DISCLOSURE OF INFORMATION REQUIRED UNDER

PARAGRAPH 1 OF THE STIPULATION REGARDING DISCOVERY OF

ELECTRONICALLY STORED INFORMATION, (3) DEFENDANT CELLCO

PARTNERSHIP’S SECOND SUPPLEMENTAL INITIAL DISCLOSURES, and

(4) DEFENDANT CELLCO PARTNERSHIP’S SUPPLEMENTAL DISCLOSURE OF

INFORMATION REQUIRED UNDER PARAGRAPH 1 OF THE STIPULATION

REGARDING DISCOVERY OF ELECTRONICALLY STORED INFORMATION were

served upon the following counsel of record at the address and in the manner indicated:
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Dated: June 26, 2015



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